      Case 3:15-cr-00013-DHB-BKE Document 170 Filed 01/29/16 Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT

                      FOR THE SOUTHERN DISTRICT OF GEORGIA

                                      DUBLIN DIVISION

UNITED STATES OF AMERICA                        )
                                                )
       v.                                       )         CR 315-013
                                                )
SUSAN ALLANA REGISTER                          )
                                           _________

                                           ORDER
                                           _________

       Before the Court are several pre-trial discovery motions filed by Defendant Susan

Allana Register.

       I.        Motion to Examine Physical Evidence

       The Court GRANTS Defendant’s motion for independent examination of physical

evidence in the case (doc. no. 141), subject to the following terms and conditions:

       (a) Defense counsel must submit to the government a list of physical evidence to be

tested or examined by experts;

       (b) Defense counsel shall confer with the government’s attorney to work out the

availability of substances or materials to be tested;

       (c) Any testing by defense experts must be completed within thirty days of the date

of this Order;

       (d) Defense counsel shall provide written notice to the government of any testing at

least ten days in advance and shall permit government representatives to attend the testing;

and
      Case 3:15-cr-00013-DHB-BKE Document 170 Filed 01/29/16 Page 2 of 3




       (e) The test or laboratory results obtained by defense experts shall be served upon the

government not later than five days after the test.

       II.       Motions to Preserve Evidence

       Defendant also filed motions to preserve evidence, including rough notes of agents.

(Doc. nos. 136, 145.) Defendant does not demand disclosure or production of this evidence,

merely preservation. While this material is not generally discoverable, it may later during

trial have probative value for purposes of impeachment. The Court GRANTS the motions,

and the government is instructed to preserve all evidence in this case, including rough notes

authored by agents.

       III.      Motion for Disclosure of Seized Evidence and for Extension of Time to
                 File Motion to Suppress; Motion for Jackson-Denno Hearing1

       Pursuant to Federal Rule of Criminal Procedure 12(b)(4), Defendant seeks an order

requiring the government to provide notice of its intent to use, during its evidence-in-chief at

trial, evidence that Defendant is entitled to discover under the Federal Rule of Criminal

Procedure 16. In light of the government’s customary policy within this District of providing

liberal discovery of its investigative file to defense counsel, Defendant should have already

received all evidence in the government’s possession that she is entitled to discover under

Rule 16, and the instant motion for notice is thus MOOT (doc. no. 142-1).

       Defendant also seeks an extension of time to move for the suppression of evidence, in

the event that the government has not yet provided all Rule 16 discovery. The Court

GRANTS an extension (doc. no. 142-2) until February 10, 2016, to file a motion to suppress


       1
           Jackson v. Denno, 378 U.S. 368 (1964).


                                             2
      Case 3:15-cr-00013-DHB-BKE Document 170 Filed 01/29/16 Page 3 of 3




that, in compliance with Local Criminal Rule 12.1, supports every factual assertion with a

citation to the existing record, an affidavit, or other evidence. The burden is upon Defendant

to allege facts that would, if proven true, entitle her to relief. United States v. Lewis, 40 F.3d

1325, 1332 (1st Cir. 1994). As to the one-page, boilerplate request for a Jackson-Denno

hearing (doc. no. 139), the Court also will provide Defendant until February 10, 2016, to file

a motion that complies with the particularity and evidentiary requirements described herein.

Failure to cure the defects with the pending Jackson-Denno motion will result in the Court

treating that motion as a nullity.

       SO ORDERED this 29th day of January, 2016, at Augusta, Georgia.




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